Case 2:21-cv-00664-MLCF-DMD Document1-2 Filed 04/01/21 Page 1 of 7
‘Lafourche Parish Clerk of Court C-142291 |

Filed Feb 22, 2021 11:08 AM Cc
Jada Breaux
Deputy Clerk of Court ;
17 JUDICIAL DISTRICT COURT FOR THE PARISH OF LAFOURCHE
STATE OF LOUISIANA
NO. DIVISION

DR. KERI TURNER
VERSUS
BOARD OF SUPERVISORS OF THE

UNIVERSITY OF LOUISIANA SYSTEM
AND STEVEN H. KENNY, JR.

FILED: DEPUTY CLERK:

 

PETITION FOR DAMAGES -VIOLATION OF THE LOUISIANA HANDICAP
DISCRIMINATION LAW LA. R.S. 23:301 ET SEQ.,
THE LOUISIANA WHISTLEBLOWER STATUTE R:S. 23:967 AND
JHE FAMILY AND MEDICAL LEAVE ACT 29 USC §§ 2601 ET SEQ.

INTRODUCTION

This action is brought to vindicate Plaintiff's rights under the Louisiana Handicap
Discrimination Law, R.S. 23:301 et seq. for failure to accommodate and for retaliation. It is also
brought to vindicate her rights under the Louisiana Whistleblower Statute, R.S. 23:967 and the
Family and Medical Leave Act 29 USC §§ 2601 et seq.

PARTIES

1. Dr. Kerri Turner (Dr. Turner, or Plaintiff) is a natural person of the full age of

majority and a resident and domiciliary of the Parish of Lafourche.

2. Made Defendant is the Board of Supervisors of the University of Louisiana System
(Defendant, or the “Board”), which is mandated to exercise all power to direct,
control, supervise and manage the Nicholls State University located in Thibodaux,
Louisiana (the University). The Board is a public corporation appointed by the
Governor of the State of Louisiana which is charged with governing the constituent
campuses of the University of I.ouisiana system, of which Nichoils State
University is a part.

3. Made Defendant is Steven H. Kenny, Jr., a natural person of the full age of majority

and a resident and domiciliary of the Parish of Lafourche.

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JURISDICTION AND VENUE

4. The jurisdiction of this Court arises from the 1974 Constitution of the State of
Louisiana, Article V and the United States Constitution, Art. VI, cl. 2.

5. Venue is proper because the facts which are the basis of this lawsuit arose in the
Parish of Lafourche, the harms and losses suffered in this lawsuit were suffered in
the Parish of Lafourche and the witnesses and papers pertinent to this lawsuit are
to be found in the Parish of Lafourche.

FACTS

6. Dr. Turner was employed as a tenured Associate Professor of English Languages
and Literature and grant writer for Defendant for approximately twenty years. Her
advanced degrees are focused in Linguistics and Rhetoric.

7. Beginning in approximately 2010 Dr. Turner was diagnosed by her treating
physician, Dr. Charles Monier with Irritable Bowel Syndrome (IBS). IBS is a
chronic condition which affects the large intestine. Symptoms and manifestations
of this condition include, without limitation, sudden onset of diarrhea, unexplained
and unexpected vomiting, difficulty swallowing and iron deficiency anemia. IBS
interfered with Plaintiff's ability to concentrate, ability to leave her house, ability
to be in public places, among other limitations.

8. Early in the Fall semester of 2017 Dr. Turner began experiencing symptoms of IBS
with increased frequency. While the symptoms were inconvenient and sometimes
distressing, Dr. Turner was able to fulfill her instructional and administrative tasks
in a satisfactory manner and perform all the essential tasks of her job.

9. By the Spring semester of 2018 the symptoms had progressed to the point Dr.
Turner found it necessary to take sick leave. Dr. Turner’s occasional absence from
the classroom and her sick leave placed additional administrative responsibilitics
and tasks upon the Chair of the English Department, Dr. Elten Barker (Dr. Barker).
Dr. Turner requested permission to teach remotely and by alternate means, but her
request was refused by Dr. Barker. Instead of accommodating Dr. Turner, Dr.
Barker removed her from her on campus courses. Steven H. Kenny, Jr, Vice
President and Director of Human Resources at Nicholls State (Mr. Kenny, or

Kenny) then informed Dr. Turner that if she did not take FMLA she would lose her

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job.

10. In August of 2018 Dr. Barker recommended that Plaintiff be terminated, in part
because of her inability to attend and conduct in-person classes. The real reason
Dr. Barker wished to terminate Plaintiff was because Plaintiff's occasional
absences from the classroom and her request to teach online classes exclusively
made her administrative tasks more difficult and time consuming.

11. Dr. Turner appealed to the University Tenure Revocation Committee in the Fall of
2018. A hearing was held in February of 2019. The Committee members consisted
of tenured academic faculty at the University. It voted 4-2 to reject Dr. Ellen
Barker’s dismissal recommendation. The Committee furthermore recommended
that Dr. Turner teach only online courses.

12. in March of 2019 Plaintiff made a request for accommodation for her disability to
Steven Kenny, Vice President and Director of Human Resources at Nicholls State.
Plaintiff's treating physician Dr. Monier completed the required ADA paperwork
particularly supporting Plaintiff's request to teach only online courses for Fall 2019
and Spring 2020. Dr. Monier indicated that Plaintiff's condition required that she
teach from her home, and that she be given the status of “intermittent leave” under
the Americans with Disabilities Act (ADA) which dispensed with the necessity to
obtain separate medical permission for cach medical absence.

13, On May 21, 2019 Vice President Steven Kenny, acting on his own authority, denied
Plaintiff's request, stating that to allow Plaintiff to teach from home would work
an “undue hardship” on the University. Mr. Kenny also, on his own authority,
restrained Plaintiff from exercising her right to take intermittent leave under the
FMLA which had been recommended and approved by her treating physician.
Instead he mandated that Plaintiff’s each and every medical absence be excused
separately accompanied by a signed excuse from a health care professional. Kenny
offered only that assigned classrooms would be located within close proximity to a
restroom.

14. Dr. Turner charged Nicholls State University with disability discrimination on

June 21, 2019, Equal Employment Opportunity Commission (EEOC) Charge

Number 461-2019-01803.

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15, When classes began in the Fall of 2019 Dr. Turner return to classroom teaching but
increasingly suffered from IBS flareups, which necessitated her taking sick leave.

16, On or about September 14, 2019 Dr. Turner’s EEOC Charge was sent to Nicholls
State University for their response.

17. On Monday, September 30, 2019 Dr. ‘furner was in class getting ready to take roll
when she was called into the hallway by an assistant dean. That official ordered
Dr. Turner to leave the classroom immediately and later dismissed Dr. Turner’s
class. Dr. Turner was thereafter ordered to meet with the University President the
that same morning at 9:00 AM.

18. At the meeting referenced in paragraph 16, University President Jay Clune
informed Turner that she would be forbidden to teach any longer, that she was
reassigned to 25 hours of tutoring in the writing center and 15 hours of research in
her office. President Clune demanded that Dr. Turner either write a letter of
resignation that same day or be terminated once again, on the spot. Dr. Turner
complied and wrote the resignation letter informing the University of her tentative
intention to retire at the end of the 2019-2020 academic year. The University
acknowledged Dr. Turner’s letter and also, by that same letter, acknowledged Dr.
Turner’s right to rescind her retirement at any time.

19. Dr. Turner’s physicians, Dr. Monier and her family ohysician Dr. Chester
Boudreaux had each determined that the University’s refusal to accommodate Dr.
Turmer’s medical needs put her physical health and her mental well-being at
needless risk and had so advised Dr. Turner to disassociate herself from her job
situation if it failed to improve substantially.

20. Dr. Turner was not willing to retire. She was fifty-eight years of age and had not
as yet saved enough or contributed enough money into her Teachers Retirement
System of Louisiana (TRSL) account to permit her to retire comfortably.

21. For the remainder of the 2019-2020 academic year Dr. Turner sought ways to
appeal her treatment at the hands of the University to the Board of Supervisors of
the University of Louisiana System, in her continuing attempt to be accommodated

for her disability and be returned to teaching.

22. Despite continued efforts on her part, her requests continued to be denied by the

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University administration. On or about May 15, 2020 Dr. Turner finally concluded
that the UL System would not act to accommodate her disability. She heeded the
advice of her treating physicians and retired on that day.
CAUSE OF ACTION: VIOLATION OF LOUISIANA R.S. 23:322 et seq.

23. Dr. Turner was a qualified person with a disability, as defined by Louisiana law.

24, Defendant employed Dr. Turner, was subject to the Louisiana Disability Law and
knew of her disability.

25. Dr. Turner was denied a reasonable disability accommodation by Defendant
without sufficient legal justification or excuse.

26, Because Defendant failed to provide Dr. Turner with reasonable accommodation
for her physical disability she reluctantly, on the advice of her treating physicians,
resigned her employment on May 15, 2020, knowing that if she did not resign on

that date she would have been terminated.

CAUSE OF ACTION: VIOLATIGN OF THE LOUISIANA WHISTLEBLOWER
STATUTE RS. 23:967.

27. Defendant took reprisal against Plaintiff by constructively terminating her
employment because she engaged in protected activity, an act illegal under
Louisiana disability law, and for providing information to the EEOC about
Defendant’s workplace acts and practices which were in violation of state law.

CAUSE OF ACTION: VIOLATION OF THE FAMILY AND MEDICAL LEAVE
ACT 29 USC §§ 2601 ET SEQ.

28. Steven H. Kenny, Jr., acting on his own authority, violated § 2615(a)(1) of the
Family and Medical Leave Act and 29 C F R § 825.220(b) when he prohibited and
restrained Plaintiff from taking intermittent TMLA leave, when she was
recommended to do so by her treating physician and was entitled to do so by law.

29, As a result of Kenny’s violation of the FMLA Plaintiff was forced to return to
classroom teaching in the Fall of 2019 and this resulted in her illness worsening
and the consequential events which are set forth above, at paragraphs 14 through

22 which ultimately led to Plaintiff losing her job.

DAMAGES

30. As a result of Defendant’s violation of Louisiana law and the FMLA, Plaintiff has

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experienced harms and losses which include, but are not limited to: loss of back
pay; loss of front pay; loss of professional reputation; emotional upset; pain and
suffering; hedonic damages and other harms and losses which will be proven with

greater specificity at time of trial.

PRAYER FOR RELIEF

Wherefore, Plaintiff Dr. Ker! Turner prays that this, her Petition for Damages, be cited and
served on Defendants, the Board of Supervisors of the University of Louisiana System and Steven
H. Kenny, Jr. and that they be required to answer same; that after due proceeding had, that
judgment be rendered for Plaintiff and against Defendants for an amount supported by the
evidence, for such additional equitable relief as is deemed appropriate, proper and just by this

Court afid for reasonable attorneys’ fees and costs for bringing this action as provided by law.

Respectfully submitted,
LAW OFFICE OF DALE EDWARD WILLIAMS

KWH

Dale E. Williams, Bar #18709
212 Park Place

Covington, Louisiana 70433
Telephone: (985) 898-6368
Facsimile: (985) 892-2640

SHERIFF PLEASE SERVE:

The Board of Supervisors of the University of Louisiana System
Through the Louisiana Attorney General

1885 N. 3 St.

Livingston Bldg., 6 floor

Baton Rouge, LA 70802

Steven H. Kenny, Jr., personally

 

At his place of business
179 Etkins Hall
Nicholls State University
Thibodaux, LA 70310
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VERIFICATION

The information contained in the above Petition is true and correct to the best of my

 

knowledge and belief.
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SE La, FES
Keri Turner, Ph.D.
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